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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                             CR 14–27–M–DLC–8

                      Plaintiff,
                                                              ORDER
        vs.

 SHAWNSTON BEAUDOIN,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 30, 2015. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Shawnston Beaudoin’s guilty


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plea after Beaudoin appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to the charge of conspiracy to advertise

child pornography in violation of 18 U.S.C. §§ 2251(d) and (e), as set forth in the

Indictment. The Defendant admits to the forfeiture allegation set forth in the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

462), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Shawnston Beaudoin’s motion to

change plea (Doc. 452) is GRANTED and Shawnston Beaudoin is adjudged guilty

as charged in the Indictment.

      DATED this 15th day of October, 2015.




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